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 Fill in this information to identify your case:
 Debtor 1               James Henry Plummer, Sr.
                              First Name            Middle Name             Last Name
 Debtor 2            Patricia Jeanette Plummer
 (Spouse, if filing) First Name      Middle Name           Last Name
 United States Bankruptcy Court for the:         WESTERN DISTRICT OF VIRGINIA                                          Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                 19-50521                                                                                 have been changed.
 (If known)


Official Form 113
Chapter 13 Plan                                                                                                                                          12/17

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included

 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows: $3,810.00 per Month for 60 months. Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
              payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.
              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment):

2.3 Income tax refunds.
         Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows: ___________________________________________________

2.4 Additional payments.
         Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

APPENDIX D                                                                      Chapter 13 Plan                                                 Page 1
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2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $228,600.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

             Check one.
                      None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                      The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                      required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                      by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                      disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                      a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                      as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                      below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                      otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                      that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                      by the debtor(s).
              Name of Creditor Collateral                    Current installment Amount of                Interest rate Monthly                 Estimated
                                                             payment                  arrearage (if       on arrearage payment on               total
                                                             (including escrow)       any)                (if applicable) arrearage             payments
                                                                                                                                                by trustee
              Wells Fargo           7690 Main St.                                     Prepetition:
              Home Mtg.             Middletown, VA                  $3,969.00            $70,000.00           0.00%             $1,707.32         $70,000.00
                                                             Disbursed by:
                                                                 Trustee
                                                                 Debtor(s)
             Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                          claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                          secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                          listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                          listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                          of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                          treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                          creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

              Name of              Estimated            Collateral      Value of          Amount of     Amount of         Interest   Monthly         Estimated
              creditor             amount of                            collateral        claims senior secured claim     rate       payment         total of
                                   creditor's                                             to creditor's                              to              monthly
                                   total claim                                            claim                                      creditor        payments
                                                        2011 BMW
              OneMain                        X3 w/
              Financial      $8,528.00       190K miles                 $8,450.00             $0.00        $8,528.00      6.25%        $165.86           $9,951.60
             Insert additional claims as needed.




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 3.3         Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                              acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                      These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                      the trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                      proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
                      the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                      payments disbursed by the trustee rather than by the debtor(s).
              Name of Creditor         Collateral                     Amount of claim           Interest rate    Monthly plan Estimated total
                                                                                                                 payment          payments by trustee
              Consumer
              Portfolio Svc.           2011 Honda Accord              $7,713.00                       6.25%            $150.01                 $9,000.60
                                                                                                                 Disbursed by:
                                                                                                                     Trustee
                                                                                                                     Debtor(s)
              Internal Revenue         7690 Main Street
              Service                  Middletown, VA                 $70,867.00                      6.00%          $1,370.06               $82,203.50
                                                                                                                 Disbursed by:
                                                                                                                     Trustee
                                                                                                                     Debtor(s)
             Insert additional claims as needed.

3.4          Lien avoidance.

             Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
             during the plan term, they are estimated to total $22,860.00.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,000.00.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                     The debtor(s) estimate the total amount of other priority claims to be $26,257.19



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4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective.

             Check all that apply.
                    The sum of $         .
                    100.00% of the total amount of these claims, an estimated payment of $5,327.11.
                    The funds remaining after disbursements have been made to all other creditors provided for in this plan.
                    If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
                    Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows
                               Name of creditor                            Basis for separate              Amount to be paid   Interest           Estimated total
                                                                           classification and treatment    on the claim        rate (if           amount of
                                                                                                                               applicable)        payments
                                 Wells Fargo Dealer Services                Deficiency balance paid          $16,330.00                           $16,330.00
                                                                            by non-filing co-debtor.
                                                                            Trustee has no
                                                                            obligation to pay claim.
                               Insert additional claims as needed.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

 Part 7:      Vesting of Property of the Estate

7.1          Property of the estate will vest in the debtor(s) upon
             Check the appliable box:
                   plan confirmation.
                   entry of discharge.
                   other:

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
 INCURRENCE OF INDEBTEDNESS: The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
 of $15,000 principal and interest during the term of this Plan, either unsecured or secured, except upon approval of the Court after

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                       Patricia Jeanette Plummer

 notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the Local Rules of
 this Court.

 NOTE REGARDING SECTION 3.1(POST-PETITION MORTGAGE FEES): Any fees, expenses, or charges accruing on claims set
 forth in Section 3.1 of this Plan which are noticed to the debtors pursuant to Bankruptcy Rule 3002.1(c) shall not require modification
 of the debtors' plan to pay them. Instead, any such fees, expenses, or charges shall, if allowed, be payable by the debtors outside the
 Plan unless the debtor chooses to modify the plan to provide for them.
 NOTE REGARDING SECTION 3.1 (POST-PETITION COMMUNICATIONS WITH SECURED CREDITOR(S)): Please take notice
 that the debtor(s) intend to continue to make regular monthly payments on your secured debt. Accordingly, you, the secured
 creditor(s) referenced above in Part 3.1, shall send monthly statements consistent with your pre-petition practice(s). Sending such
 statements shall not be considered by the debtor(s) to be a violation of the automatic stay.

 NOTE REGARDING SECTION 3.1 (POST-PETITION MORTGAGE PAYMENTS): The Debtor(s) have an affirmative obligation to pay
 the post-petition mortgage payments, scheduled in Section 3.1, through an automatic payment method (e.g., auto draft from bank or
 wage order). The Debtor(s) must provide proof of such payment method to the Chapter 13 Trustee and must maintain such payment
 method as a condition of confirmation of this Plan.

 NOTE REGARDING SECTIONS 3.2 AND 3.3 (ADEQUATE PROTECTION PAYMENTS): The debtors propose to make adequate
 protection payments other than as provided in Local Rule 4001-2. Unless otherwise provided herein, the monthly payment amounts
 listed in Parts 3.2 and 3.3 of this Chapter 13 Plan will be paid as adequate protection beginning prior to confirmation to the holders of
 allowed secured claims.

 NOTE REGARDING SECTION 4.3 (ATTORNEY'S FEES): The $3,000.00 in Debtor(s)' attorney's fees to be paid by the Chapter 13
 Trustee are broken down as follows:
 (i) $3,000.00: Fees to be approved, or already approved, by the Court at initial plan confirmation;
 (ii) $0.00: Additional pre-confirmation or post-confirmation fees already approved by the Court by separate order or in a previously
 confirmed modified plan;
  (iii) $0.00: Additional post-confirmation fees being sought in this modified plan, which fees will be approved when this plan is
 confirmed.
 NOTE REGARDING SECTION 4.4 (PRIORITY CLAIMS OTHER THAN TRUSTEE COMMISSION, ATTORNEY FEES & DSO IN
 SEC. 4.5): The following priority unsecured creditors will be paid by deferred cash payments, pro rata with other priority creditors,
 except that allowed claims pursuant to 11 U.S.C. § 507(a)(1), scheduled in Section 4.5, will be paid prior to other priority creditors but
 concurrently with administrative claims scheduled in Sections 4.2 and 4.3:

   Creditor                                                          Type of Priority                    Estimated Claim
   Virginia Dept. of Taxation                                        State Income Taxes                    $26,257.19

 NOTE REGARDING TREATMENT AND PAYMENT OF CLAIMS:
 --All creditors must timely file a proof of claim to receive any payment from the Trustee.
 --If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
 confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph does
 not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the debtor(s) receive a
 discharge.
 --If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor will be
 treated as unsecured for purposes of distribution under the Plan.
 --The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
 Part 9:      Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ James Henry Plummer, Sr.                                         X /s/ Patricia Jeanette Plummer
       James Henry Plummer, Sr.                                              Patricia Jeanette Plummer
       Signature of Debtor 1                                                 Signature of Debtor 2

       Executed on            June 24, 2019                                               Executed on      June 24, 2019

 X     /s/ John P. Goetz                                                           Date     June 24, 2019
       John P. Goetz 78514
       Signature of Attorney for Debtor(s)

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By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.


Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                               $70,000.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                         $9,951.60

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                  $91,204.10

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                                $0.00

 e.    Fees and priority claims (Part 4 total)                                                                                                   $52,117.19

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                                   $5,327.11

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                     $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                                $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                          $0.00

 j.    Nonstandard payments (Part 8, total)                                                                      +                                       $0.00

 Total of lines a through j                                                                                                                    $228,600.00

                                    CERTIFICATION OF MAILING AND/OR SERVICE OF CHAPTER 13 PLAN

          I certify that a true and correct copy of the chapter 13 plan [or the amended chapter 13 plan and amended plan cover sheet],
filed electronically with the Court on June 24, 2019, has been mailed by first class mail postage prepaid to all creditors, equity
security holders, and other parties in interest, including the United States Trustee, on June 24, 2019.
          If the plan contains (i) a request under section 522(f) to avoid a lien or other transfer of property exempt under the Code or
(ii) a request to determine the amount of a secured claim, the plan must be served on the affected creditors in the manner provided by
Rule 7004 for service of a summons and complaint. I certify that a true and correct copy of the chapter 13 plan has been served on the
following parties pursuant to Rule 7004:

            Name                                                         Address                        Method of Service
OneMain Financial                                          Attn: Douglas H. Shulman,           Certified Mail, Return Receipt
                                                           President & CEO                     Requested
                                                           601 N.W. Second Street
                                                           Evansville, IN 47708-1013

                                                                                         /s/ John P. Goetz
                                                                                         Counsel for Debtor(s)




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